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       H A RAN T AE                                                                                                       SIDUR I BECKM AN
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                                                                              March 23, 2021

        ByECF
        The Honorable Colleen McMahon
        Chief United States District Judge
        Southern District of New York
        500 Pearl Street
        New York, New York 10007-1312

                  Re:               Fraser v. City ofNew York) et al.
                                    No. 20-cv-4926 (CM)

        Dear ChiefJudge McMahon:

                I am writing to request permission to file a sur-reply memorandum of no more than three
        pages to the Defendants' reply in support of their motion for partial judgment on the pleadings.
        The Defendants rely on two relatively old Second Circuit cases they could have cited in their
        opening brief, but did not: United States v. Rosner, 516 F.2d 269 (2d Cir. 1975), and Morgan v.
        Salamack, 735 F.2d 354 (2d Cir. 1984). These cases, however, concerned tangential impeachment
        information known to witnesses who were not part of the prosecution team, and were decided
        before Kyles v. Whitley made clear that prosecutors have imputed knowledge of favorable evidence
        known to police officers working on the prosecution's behalf. 514 U.S. 419, 437-38 (1995).

                                                                              Respectfully submitted,
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                                                                              Matthew A. Wasserman

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